         Case 8-18-73782-reg             Doc 27       Filed 08/23/18          Entered 08/23/18 11:22:43




    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
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    In re:
                                                                               Index No. 18-73782 (REG)
    PATRICIA LAMANNA,
    a/k/a PATRICIA ROSE MCCALLAN                                               Chapter 7

                                       Debtor.
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          ORDER: (I) AUTHORIZING THE TRUSTEE TO CONDUCT A PUBLIC
            AUCTION SALE OF CERTAIN RESIDENTIAL REAL PROPERTY
          FREE AND CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES;
        AND (II) APPROVING THE TERMS OF SALE FOR PUBLIC AUCTION SALE

           UPON the motion (the “Motion”)1 of Richard L. Stern, Esq. (the “Trustee”), the chapter 7

trustee of the estate of Patricia Lamanna a/k/a Patricia Rose McCallan (the “Debtor”), by and

through his counsel, Macco & Stern, LLP, seeking an entry of an order: (i) authorizing the Trustee

to conduct a public auction sale of the real property located at, and known as, 107 Wilson Place,

Bellmore, New York 11710 (the “Real Property”), free and clear of all liens, claims and

encumbrances; (ii) approving the terms of sale for the public auction sale; (iii) directing the Debtor

and all occupants of the Real Property to vacate from the premises; and upon the affidavits of

service of the Approval Order and the Affidavit of Non-Compliance; and the Court having found

that entry of this order is fair and reasonable and in the best interest of the Debtor’s estate and its

creditors; and sufficient cause having been shown therefore, and no additional notice being

necessary or required; and after due deliberation by the Court;

           ORDERED, that the Motion is granted; and it is further




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    All capitalized terms used but not herein defined shall have the meaning ascribed in the Motion.
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        ORDERED, that the Trustee is authorized to conduct a public Auction Sale of the Real

Property located at, and known as, 107 Wilson Place, Bellmore, New York 11710, free and clear

of all liens, claims and encumbrances against the Real Property; and it is further

        ORDERED, that the Bid Procedures are approved and shall govern the any and all bids

relating the Real Property; and it is further

        ORDERED, that all bids for the Real Property shall be submitted in accordance with the

Bid Procedures; and it is further

        ORDERED, that the public Auction Sale of the Real Property will occur on a date to and

location to be announced at least 30 days in advance on the Auctioneer’s website; and it is further

        ORDERED, that the Closing of title for the Real Property shall occur on a date that is not

more than thirty (30) days after the entry of an order approving the results of the Auction Sale; and

it is further

        ORDERED, that the Trustee is authorized to do such things, execute such documents, and

expend such funds, as may be reasonably and necessary to effectuate the terms of this and

conditions of this Order and take exclusive possession of the Real Property; and it is further
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       ORDERED, that the Court shall retain exclusive jurisdiction over any matter or dispute

arising from or relating to the implementation of this Order.




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 Dated: Central Islip, New York                                      Robert E. Grossman
        August 23, 2018                                         United States Bankruptcy Judge
